      Case 4:19-cv-04658 Document 4 Filed on 12/13/19 in TXSD Page 1 of 2




                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION


ORACLE ELEVATOR HOLDCO, INC.                  *

               Plaintiff.                     *         Civil Action No.: 4:19-cv-04658
v.
                                              *
EXODUS SOLUTIONS, LLC, et al.
                                              *
               Defendants.
                                              *

       *       *       *       *      *       *         *      *      *      *        *

CORPORATE DISCLOSURE STATEMENT OF ORACLE ELEVATOR HOLDCO, INC.

       Plaintiff, Oracle Elevator Holdco, Inc. (“Oracle”), by undersigned counsel and pursuant to

Fed. R. Civ. P. 7.1 and Paragraph 2 of the Court’s Order for Conference and Disclosure of

Interested Parties (ECF No. 2), certifies as follows:

       1.      Oracle Elevator Holdings, LLC is the parent entity of Oracle Elevator Holdco, Inc.,

and is the sole owner of Oracle Elevator Holdco, Inc.

       2.      The following entity may have a financial interest in the outcome of this litigation:

Oracle Elevator Holdings, LLC.

                                                            Respectfully submitted,
                                                            ROSENTHAL PAUERSTEIN
                                                            SANDOLOSKI AGATHER LLP

                                                   By:      /s/ Stephen K. Lecholop II
                                                            Stephen K. Lecholop II
                                                            State Bar No. 24070119
                                                            S.D. Texas No. 1104713
                                                            755 East Mulberry, Suite 200
                                                            San Antonio, Texas 78212
                                                            (210) 244-8836 – Telephone
                                                            (210) 244-8936 – Facsimile
                                                            slecholop@rpsalaw.com
      Case 4:19-cv-04658 Document 4 Filed on 12/13/19 in TXSD Page 2 of 2




                                                         ATTORNEY-IN-CHARGE FOR
                                                         DEFENDANT ORACLE ELEVATOR
                                                         HOLDCO, INC.




OF COUNSEL:

J. Garrett Wozniak (pro hac vice application forthcoming)
Md. Bar (Client Protection Fund) No. 1312190336
D. Md. No. 18919
Vincent P. Jackson (pro hac vice application forthcoming)
Md. Bar (Client Protection Fund) No. 1312180035
D. Md. No. 20878
Kollman & Saucier, P.A.
The Business Law Building
1823 York Road
Timonium, MD 21093
410-727-4300 – Telephone
410-727-4391 – Facsimile
gwozniak@kollmanlaw.com
vjackson@kollmanlaw.com

ATTORNEYS FOR DEFENDANT
ORACLE ELEVATOR HOLDCO, INC.


                               CERTIFICATE OF SERVICE

        On this 13th day of December, 2019, a true and correct copy of the foregoing was served
in accordance with the Federal Rules of Civil Procedures and the Local Rules of the United States
District Court for the Southern District of Texas and through the Court’s ECF document filing
system upon the following parties:

Wilson T. Baker
WILTON T. BAKER, PLLC
1920 Nacodoches Rd., Suite 100
San Antonio, Texas 78209
wilson@wilsontbaker.com

                                                    /s/ Stephen K. Lecholop II
                                                    Stephen K. Lecholop II




658374.1
